AO 245B (Rev. 10/20) Judgment in a Criminal Case
                     Sheet 1


                                         UNITED STATES DISTRICT COURT
                                                             District of Idaho
               UNITED STATES OF AMERICA                                   )       JUDGMENT IN A CRIMINAL CASE
                                                                          )
                                    v.                                    )
                        OLIVER YARDLEY                                    )       Case Number:           0976 1:21CR00119-001
                                                                          )
                                                                          )       USM Number:            41297-509
                                                                          )
                                                                          )       Craig Durham
                                                                          )       Defendant’s Attorney
THE DEFENDANT:

☒       pleaded guilty to count(s) One

☐       pleaded nolo contendere to count(s)
        which was accepted by the court.

☐       was found guilty on count(s)
        after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                                    Nature of Offense                                      Offense Ended            Count

 21§841(a)(1)                                      Distribution of Methamphetamine                         09/05/2019                1


         The defendant is sentenced as provided in pages 2 through            7       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
☐ The defendant has been found not guilty on count(s)
☒ Count(s) Two through Five                              ☐ is     ☒ are       dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                        November 10, 2021
                                                                        Date of Imposition of Judgment




                                                                        Signature of Judge

                                                                        B. Lynn Winmill, United States District Judge
                                                                        Name and Title of Judge
                                                                        November 18, 2021
                                                                        Date
AO 245B (Rev. 10/20) Judgment in a Criminal Case
                     Sheet 2-Imprisonment
                                                                                                            Judgment—Page        Page 2 of 7
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                                                        IMPRISONMENT
The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of: 76 months




      ☒ The court makes the following recommendations to the Bureau of Prisons:

           The defendant will be credited with all time served in federal custody and will be placed in a facility in FCI Sheridan,
           Sheridan, Oregon.

           It is strongly recommended the defendant participate in the RDAP program while incarcerated.


      ☐ The defendant is remanded to the custody of the United States Marshal.

      ☐ The defendant shall surrender to the United States Marshal for this district:
           ☐ at                                    ☐ a.m.      ☐ p.m.        on                                              .
           ☐ as notified by the United States Marshal.

      ☒ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           ☐ before 2 p.m. on                                                                                                             .
           ☐ as notified by the United States Marshal.
           ☒ as notified by the Probation or Pretrial Services Office.
                                                               RETURN
I have executed this judgment as follows:


           Defendant delivered on                                                        to
at                                                  , with a certified copy of this judgment.




                                                                                          UNITED STATES MARSHAL



                                                                      By:            DEPUTY UNITED STATES MARSHAL
AO 245B (Rev. 10/20) Judgment in a Criminal Case
                      Sheet 3-Supervised Release

                                                                                                               Judgment—Page     Page 3 of 7
 DEFENDANT:                   Oliver Yardley
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                                                    SUPERVISED RELEASE

 Upon release from imprisonment, the defendant shall be on supervised release for a term of:         5 years




                                                   MANDATORY CONDITIONS
 1.     You must not commit another federal, state or local crime.
 2.     You must not unlawfully possess a controlled substance.
 3.     You shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days
        of release on supervision and to a maximum of 10 periodic drug tests a month thereafter for the term of supervision as directed
        by the probation officer. The cost to be paid by both the defendant and the government based upon the defendant's ability to
        pay.
                ☐ The above drug testing condition is suspended, based on the courts determination that the defendant poses a low
                      risk of future substance abuse. (Check, if applicable.)
 4.     ☒       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 5.     ☐       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. §
                16901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency
                in which he or she resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
 6.     ☐       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

 7.     ☐        You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (Check,
                 if applicable.)
 8.     ☒        You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
 9.     ☐        If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
 10.    ☒        You must notify the court of any material change in your economic circumstances that might affect your ability to pay
                 restitution, fines, or special assessments.

 You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
 attached page.
AO 245B (Rev. 10/20) Judgment in a Criminal Case
                      Sheet 3A-Supervised Release

                                                                                                                Judgment—Page     Page 4 of 7
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                                       STANDARD CONDITIONS OF SUPERVISION
 As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
 imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
 by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.
 1.       You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
          your release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
          different time frame.
 2.       After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
          and when you must report to the probation officer, and you must report to the probation officer as instructed.
 3.       You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
          from the court or the probation officer.
 4.       You must answer truthfully the questions asked by your probation officer.
 5.       You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
          arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
          notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
          officer within 72 hours of becoming aware of a change or expected change.
 6.       You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
          officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
 7.       You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
          from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation
          officer excuses you from doing so. If you plan to change where you work or anything about your work (such as your position
          or your job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the
          probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation
          officer within 72 hours of becoming aware of a change or expected change.
 8.       You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
          been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
          permission of the probation officer.
 9.       If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10.      You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
          that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
          nunchakus or tasers).
 11.      You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
          without first getting the permission of the court.
 12.      If the probation officer determines that you pose a risk to another person (including an organization), the probation officer
          may require you to notify the person about the risk and you must comply with that instruction. The probation officer may
          contact the person and confirm that you have notified the person about the risk.
 13.      You must follow the instructions of the probation officer related to the conditions of supervision.

 U.S. Probation Office Use Only
 Upon a finding of a violation of supervision or supervised release, I understand that the court may (1) revoke supervision, (2) extend
 the term of supervision, and/or (3) modify the conditions of supervision.

 A U.S. probation officer has instructed me on the conditions specified by the Court. I fully understand the conditions and have been
 provided with a written copy of this judgment containing these conditions.


 Defendant’s Signature                                                                   Date

 U.S. Probation Officer/Witness                                                          Date
AO 245B (Rev. 10/20) Judgment in a Criminal Case
                      Sheet 3B-Supervised Release

                                                                                                            Judgment—Page      Page 5 of 7
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                                     ADDITIONAL SUPERVISED RELEASE TERMS
 The defendant shall pay any special assessment or other financial obligation that is imposed by this judgment in accordance with the
 Schedule of Payments as ordered by the Court.

 The defendant shall submit his person, property, house, residence, vehicle, papers, computers (as defined in 18 § 1030(e)(1)), other
 electronic communications or data storage devices or media, or office, to a search conducted by a United States probation officer. The
 defendant shall warn any other occupants the premises may be subject to searches pursuant to this condition.

 The defendant shall participate in a program of testing and treatment for drug and alcohol abuse, as directed by the probation officer.
 The cost to be paid by both the defendant and the government based upon the defendant's ability to pay.

 The defendant shall abstain from the use or possession of alcohol and shall not be present in any location where alcohol is the primary
 item of sale.

 The defendant shall participate in a program of mental health treatment, as directed by the probation officer. The cost to be paid by both
 the defendant and the government based upon the defendant's ability to pay.

 As directed by a mental health professional, the defendant shall take all medications as prescribed. The cost of medication to be paid by
 both the government and the defendant based upon the defendant’s ability to pay.

 The defendant is prohibited from having contact with individuals known to him to be gang members. The defendant is further prohibited
 from possessing any items representing or showing affiliation with gangs and shall submit to the seizure of any such contraband.

 Special Conditions of supervised release shall supersede any standard condition that is inconsistent with the special conditions.
AO 245B (Rev. 10/20) Judgment in a Criminal Case
                      Sheet 5- Criminal Monetary Penalties

                                                                                                                  Judgment—Page    Page 6 of 7
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                                                   CRIMINAL MONETARY PENALTIES
                 The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                  Assessment                 Fine                        Restitution                AVAA Assessment*     JVTA Assessment**
 TOTALS           $100                       No fine                     Not applicable             Not applicable       Not applicable


 ☐ The determination of restitution is deferred until                              . An Amended Judgment in a Criminal Case (AO 245C) will be
        entered after such determination.

 ☐ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
        otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
        victims must be paid before the United States is paid.

                  Name of Payee                              Total Loss***                Restitution Ordered          Priority or Percentage




                    TOTALS                        $                                       $
 ☐       Restitution amount ordered pursuant to plea agreement                 $
 ☐       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
         the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
         subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
 ☐       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

         ☐ the interest requirement is waived for the                 ☐ fine        ☐    restitution.

         ☐ the interest requirement for the            ☐       fine    ☐ restitution is modified as follows:

 * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 *** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
 committed on or after September 13, 1994, but before April 23, 1996.
AO 245B (Rev. 10/20) Judgment in a Criminal Case
                      Sheet 6- Schedule of Payments

                                                                                                           Judgment—Page            Page 7 of 7
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                                                      SCHEDULE OF PAYMENTS
 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A      ☐ Lump sum payment of $                                 due immediately, balance due

              ☐ not later than                                      , or
                     in accordance
              ☐ with                        ☐ C,      ☐ D,      ☐ E, or         ☐ F below; or

 B      ☒ Payment to begin immediately (may be combined with                ☐ C,        ☐ D, or        ☒ F below); or
 C      ☐ Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                              (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or
 D      ☐ Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                           (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to
              term of supervision; or
 E      ☐ Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
              imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F      ☒ Special instructions regarding the payment of criminal monetary penalties:
              While in custody, the defendant shall submit nominal payments of not less than $25 per quarter pursuant to the Bureau of
              Prisons' Inmate Financial Responsibility Program.

              During the term of supervised release, the defendant shall submit nominal monthly payments of 10% of gross income, but
              not less than $25 per month, unless further modified by the Court. The defendant shall pay any special assessment or
              financial obligation owing to the Clerk of the Court, 550 West Fort Street, Boise, Idaho 83724.
 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
 due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of
 Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 ☐      Joint and Several
        Case Number
        Defendant and Co-Defendant Names Total Amount                       Joint and Several Amount          Corresponding Payee, if appropriate
        (including defendant number)



 ☐      The defendant shall pay the cost of prosecution.

 ☐      The defendant shall pay the following court cost(s):

 ☐      The defendant shall forfeit the defendant’s interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) JVTA Assessment (8) penalties, and (9) costs, including cost of prosecution and court
 costs.
